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UNITED STATES l)lS'l`RlCT COURT
FOR 'I`HE WESTERN DISTRICT ()F TEXAS APR 1 7 2019

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Ci\'il Casc No. 5:16-37{}

 

BRENDA H. SOLIZ,
l’laintiff,
\'.
UNITED STATES OF AMERICA,

Dci`cndant.

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()RDER & .IUl)GMENT
In accordance with thc accompanying Findings of Fact & Conclusions oi`I.aw. the Courl

cmcrsjudgmcnt in favor 01`1]1<: United States 01` A mcl'ica. dismissing this case with prej udice.

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